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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

L. LIN WOOD, JR.,

CIVIL ACTION
FILE NO.

Plaintiff,
Vv.

BRAD RAFFENSPERGER, in his official
capacity as Secretary of State of the State
of Georgia, REBECCA N. SULLIVAN,
in her official capacity as Vice Chair of
the Georgia State Election Board,
DAVID J. WORLEY, in his official
capacity as a Member of the Georgia
State Election Board, MATTHEW
MASHBURN, in his official capacity as

a Member of the Georgia State Election
Board, and ANH LE, in her official
capacity as a Member of the Georgia
State Election Board,

Defendants.

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CERTIFICATE OF INTERESTED PERSONS AND
CORPORATE DISCLOSURE STATEMENT

(1) The undersigned counsel of record for a party to this action certifies that
the following is a full and complete list of all parties in this action,
including any parent corporation and any publicly held corporation that
owns 10% or more of the stock of a party:

Plaintiff: L. Lin Wood, Jr.

 

Defendants: _ Brad Raffensberger, in his official capacity as Secretary of
State of the State of Georgia, Rebecca N. Sullivan, in her official capacity
as Vice Chair of the Georgia State Election Board, David J. Worley, in his

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official capacity as a Member of the Georgia State Election Board,
Matthew Mashburn, in his official capacity as a Member of the Georgia
State Election Board, and Anh Le, in her official capacity as a Member of

the Georgia State.

(2) The undersigned further certifies that the following is a full and complete
list of all other persons, associations, firms, partnerships, or corporations
having either a financial interest in or other interest which could be

substantially affected by the outcome of this particular case:

None.

(3) The undersigned further certifies that the following is a full and complete
list of all persons serving as attorneys for the parties in this proceeding:

Plaintiff: Ray S. Smith, Il, Smith & Liss, LLC

Defendants: | Unknown.

Respectfully submitted this 13th day of November, 2020.

 

Counsel for Plaintiff

Five Concourse Parkway
Suite 2600

Atlanta, Georgia 30328
(404) 760-6000
rsmith(@smithliss.com

 

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CERTIFICATE OF SERVICE

I hereby certify that I have this day caused the foregoing and all exhibits and
attachments thereto in the above-captioned matter to be filed with the United States
District Court for the Northern District of Georgia, Atlanta Division, via the Court’s
CM-ECF system. I also hereby certify that I caused the foregoing and all exhibits
and attachments thereto in the above captioned matter to be served, via FedEx and
email, upon:

Secretary of State Brad Raffensperger

214 State Capitol
Atlanta, Georgia 30334

brad(@sos.ga.gov

soscontact(@sos.ga.g0v

 

Rebecca N. Sullivan

Georgia Department of Administrative Services
200 Piedmont Avenue SE

Suite 1804, West Tower

Atlanta, Georgia 30334-9010
rebecca.sullivan(@doas.ga.gov

David J. Worley
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Matthew Mashburn

Aldridge Pite, LLP

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Anh Le

Harley, Rowe & Fowler, P.C.
2700 Cumberland Parkway
Suite 525

Atlanta, Georgia 30339

ale@hrflegal.com

This 13th day of November, 2020.

Lp
Ray &) $mith,

Gegrfia Bar No. 662555
Caynsel for Plaintiff

  

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